  USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 1 of 50
                               No. 21-13755


         United States Court of Appeals
            for the Eleventh Circuit
                    —————————————————————

                SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff-Appellee,

                                      v.

                       IBRAHIM ALMAGARBY and
                     MICROCAP EQUITY GROUP, LLC,

                                            Defendants-Appellants.
                    —————————————————————

                           On Appeal from the
    United States District Court for the Southern District of Florida,
                      Case No. 17-cv-62255-MGC


     BRIEF OF THE SMALL PUBLIC COMPANY COALITION,
ALTERNATIVE INVESTMENT MANAGEMENT ASSOCIATION LTD.,
 AND NATIONAL ASSOCIATION OF PRIVATE FUND MANAGERS
  AS AMICI CURIAE SUPPORTING DEFENDANTS-APPELLANTS
                     AND REVERSAL


  BARRY GOLDSMITH                          HELGI C. WALKER
  M. JONATHAN SEIBALD                      BRIAN A. RICHMAN
  GIBSON, DUNN & CRUTCHER LLP              GIBSON, DUNN & CRUTCHER LLP
  200 Park Avenue                          1050 Connecticut Avenue, N.W.
  New York, N.Y. 10166-0193                Washington, D.C. 20036-5306
  (212) 351-4000                           (202) 955-8500

                          Counsel for Amici Curiae

 July 8, 2022
 USCA11 Case: 21-13755   Document: 35   Date Filed: 07/08/2022   Page: 2 of 50
            SEC v. Ibrahim Almagarby et al., No. 21-13755

           CERTIFICATE OF INTERESTED PERSONS
      AND CORPORATE DISCLOSURE STATEMENT (CIP)

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule 26.1-1, Amici state that the Certificate of Interested Persons

contained in Defendants-Appellants’ Brief is complete, other than the fol-

lowing additions:

     1.    Alternative Investment Management Association Ltd.

     2.    Goldsmith, Barry

     3.    National Association of Private Fund Managers

     4.    Richman, Brian A.

     5.    Securities and Exchange Commission

     6.    Seibald, M. Jonathan

     7.    Small Public Company Coalition

     8.    Walker, Helgi C.




                                 C-1 of 2
 USCA11 Case: 21-13755   Document: 35   Date Filed: 07/08/2022   Page: 3 of 50
            SEC v. Ibrahim Almagarby et al., No. 21-13755

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

Amici each states that it does not have a parent corporation and that no

publicly held company owns 10 percent or more of its stock. The Alter-

native Investment Management Association Ltd. (“AIMA”) further states

that it is a UK private company limited by guarantee. It does not issue

share capital and no publicly held company holds more than a 10% inter-

est in AIMA.

     Pursuant to Eleventh Circuit Rule 26.1-3(b), Amici certify that they

are not aware of any publicly traded company or corporation that has an

interest in the outcome of this case or appeal.




                                 C-2 of 2
 USCA11 Case: 21-13755                Document: 35           Date Filed: 07/08/2022             Page: 4 of 50



                                    TABLE OF CONTENTS
                                                                                                            Page

CERTIFICATE OF INTERESTED PERSONS AND
CORPORATE DISCLOSURE STATEMENT (CIP) .............................. C-1

TABLE OF CONTENTS ............................................................................. i

TABLE OF CITATIONS .......................................................................... iii

INTEREST OF AMICI CURIAE ............................................................... 1

STATEMENT OF ISSUE ........................................................................... 2

INTRODUCTION AND SUMMARY OF ARGUMENT ............................ 2

ARGUMENT ............................................................................................... 6

I.      The Court Should Reject The Commission’s Ahistorical, Hy-
        perliteral, And Overbroad Interpretation Of The Exchange
        Act. ..................................................................................................... 6

                 A.       The Exchange Act Uses Well-Known, Widely
                          Used Terms That Refer To The Methods Of
                          Effectuating Customer Orders. ...................................... 7

                 B.       The Context Reinforces The Customer-Order-
                          Facilitation Interpretation. .......................................... 13

                 C.       The Statute’s Structure Spells More Trouble For
                          The Commission’s Reading........................................... 18

                 D.       The Scope And History Of The Commission’s
                          Claimed Authority Counsel Against It. ....................... 23

                 E.       The Commission’s Reading Makes A Mess Of
                          Other Statutory Limitations. ....................................... 28

                 F.       Two Time-Honored Canons Of Judicial Restraint
                          Foreclose The Commission’s Theory. ........................... 30



                                                        i
 USCA11 Case: 21-13755             Document: 35        Date Filed: 07/08/2022        Page: 5 of 50

                                 TABLE OF CONTENTS
                                     (continued)

II.    If Anything, SEC v. Big Apple Independently Bars The Com-
       mission’s Attempted Overreach. ..................................................... 31

CONCLUSION ......................................................................................... 34

CERTIFICATE OF COMPLIANCE ........................................................ 36

CERTIFICATE OF SERVICE.................................................................. 37




                                                  ii
 USCA11 Case: 21-13755             Document: 35         Date Filed: 07/08/2022        Page: 6 of 50



                                 TABLE OF CITATIONS

                                                                                            Page(s)

Cases

Air Wis. Airlines Corp. v. Hoeper,
   571 U.S. 237 (2014) .............................................................................. 17

Ala. Ass’n of Realtors v. Dep’t of Health & Human Servs.,
  141 S. Ct. 2485 (2021) .......................................................................... 23

Andrus v. Charlestone Stone Prods. Co.,
  436 U.S. 604 (1978) .............................................................................. 13

In re Appling,
   848 F.3d 953 (11th Cir. 2017) .............................................................. 20

Bullock v. BankChampaign, N.A.,
  569 U.S. 267 (2013) .............................................................................. 20

Chapel Invs. v. Cherubim Interests, Inc.,
  177 F. Supp. 3d 981 (N.D. Tex. 2016) ................................................. 24

Christopher v. SmithKline Beecham Corp.,
  567 U.S. 142 (2012) .............................................................................. 23

Clark v. Martinez,
  543 U.S. 371 (2005) .............................................................................. 30

Comm’r v. Kelley,
  293 F.2d 904 (5th Cir. 1961) ................................................................ 15

Cuozzo Speed Techs., LLC v. Lee,
  579 U.S. 261 (2016) .............................................................................. 32

DIRECTV, Inc. v. Brown,
  371 F.3d 814 (11th Cir. 2004) .............................................................. 33




                                                  iii
 USCA11 Case: 21-13755             Document: 35        Date Filed: 07/08/2022        Page: 7 of 50

                                TABLE OF CITATIONS
                                    (continued)

                                                                                           Page(s)

Donander Co. v. Comm’r,
  29 B.T.A. 312 (1933)....................................................................... 16, 17

Freeman v. Quicken Loans, Inc.,
  566 U.S. 624 (2012) .............................................................................. 19

FTC v. Univ. Health, Inc.,
  938 F.2d 1206 (11th Cir. 1991) ............................................................ 34

Garcia v. Vanguard Car Rental USA, Inc.,
  540 F.3d 1242 (11th Cir. 2008) ............................................................ 19

Goldstein v. SEC,
  451 F.3d 873 (D.C. Cir. 2006) .......................................................... 3, 25

Gustafson v. Alloyd Co.,
  513 U.S. 561 (1995) .............................................................................. 20

Harriman Nat’l Bank v. Comm’r,
  43 F.2d 950 (2d Cir. 1930) ................................................................... 17

Inv. Tr. of Mut. Inv. Co. v. Comm’r,
   27 B.T.A. 1322 (1933)........................................................................... 10

Johnson v. United States,
  576 U.S. 591 (2015) .............................................................................. 30

Jones v. Harris Assocs. L.P.,
  559 U.S. 335 (2010) .............................................................................. 21

Knight v. Comm’r,
  552 U.S. 181 (2008) .............................................................................. 15

Lake Bldg. Prods., Inc. v. Sec’y of Labor,
  958 F.3d 501 (6th Cir. 2020) ................................................................ 29


                                                  iv
 USCA11 Case: 21-13755             Document: 35         Date Filed: 07/08/2022         Page: 8 of 50

                                 TABLE OF CITATIONS
                                     (continued)

                                                                                            Page(s)

Liu v. SEC,
  140 S. Ct. 1936 (2020) .......................................................................... 20

Murphy v. NCAA,
  138 S. Ct. 1461 (2018) .......................................................................... 11

Neder v. United States,
  527 U.S. 1 (1999) .................................................................................. 16

New Prime Inc. v. Oliveira,
  139 S. Ct. 532 (2019) ........................................................................ 7, 34

Niz-Chavez v. Garland,
  141 S. Ct. 1474 (2021) .......................................................................... 12

NLRB v. SW Gen., Inc.,
  137 S. Ct. 929 (2017) ............................................................................ 15

Roberts v. Sea-Land Servs., Inc.,
  566 U.S. 93 (2012) ................................................................................ 19

Romag Fasteners, Inc. v. Fossil, Inc.,
  140 S. Ct. 1492 (2020) .......................................................................... 18

Romero v. Sec'y of Homeland Sec.,
  20 F.4th 1374 (11th Cir. 2021) ............................................................ 31

SEC v. Big Apple Consulting USA, Inc.,
  783 F.3d 786 (11th Cir. 2015) .................................................. 31, 32, 34

Skilling v. United States,
  561 U.S. 358 (2010) .............................................................................. 14

State v. San Patricio Canning Co.,
  17 S.W.2d 160 (Tex. Civ. App. 1929) ............................................. 28, 29


                                                   v
 USCA11 Case: 21-13755             Document: 35        Date Filed: 07/08/2022         Page: 9 of 50

                                 TABLE OF CITATIONS
                                     (continued)

                                                                                            Page(s)

State v. Yearby,
  82 N.C. 561 (1880)................................................................................ 28

Stokeling v. United States,
   139 S. Ct. 544 (2019) ............................................................................ 28

Trump v. Thompson,
  142 S. Ct. 680 (2022) ............................................................................ 34

United States v. Jones,
  962 F.3d 1290 (11th Cir. 2020) ............................................................ 14

Universal Health Servs., Inc. v. United States,
  579 U.S. 176 (2016) .............................................................................. 16

Util. Air Regulatory Grp. v. EPA,
  573 U.S. 302 (2014) .......................................................................... 7, 25

Van Buren v. United States,
  141 S. Ct. 1648 (2021) .................................................................... 18, 24

Vaughan v. Comm’r,
  85 F.2d 497 (2d Cir. 1936) ................................................................... 17

Weisbrod v. Lowitz,
  282 Ill. App. 252 (1935) .......................................................................... 8

West Virginia v. EPA,
  -- S. Ct. --, 2022 WL 2347278 (2022) ............................................... 6, 25

Wilbur v. Corr. Servs. Corp.,
  393 F.3d 1192 (11th Cir. 2004) ............................................................ 34

Wollschlaeger v. Governor,
  848 F.3d 1293 (11th Cir. 2017) ............................................................ 30


                                                  vi
 USCA11 Case: 21-13755               Document: 35           Date Filed: 07/08/2022           Page: 10 of 50

                                    TABLE OF CITATIONS
                                        (continued)

                                                                                                    Page(s)

XY Planning Network, LLC v. SEC,
  963 F.3d 244 (2d Cir. 2020) ................................................................... 6

Yates v. United States,
  574 U.S. 528 (2015) .............................................................................. 31

Statutes

15 U.S.C.
   § 77b(a)(12) ..................................................................................... 32, 33
   § 78c(a)(4) ............................................................................................... 3
   § 78c(a)(4)(A) .................................................................................... 8, 18
   § 78c(a)(5) ............................................................................................... 3
   § 78c(a)(5)(A) ........................................................................ 8, 14, 18, 33
   § 78c(a)(5)(B) ........................................................................................ 16
   § 78ff(a) ................................................................................................. 31
   § 78fff-4(c) ............................................................................................. 21
   § 78o(a)(1) ............................................................................................. 31
   § 78o(c)(3)(A)......................................................................................... 21
   § 78o(e) .................................................................................................. 21

Act of Apr. 5, 1938, ch. 72, 52 Stat. 198 .................................................. 21

Act of June 25, 1938, ch. 677, 52 Stat. 1070............................................ 12

Act of May 27, 1936, ch. 464, 49 Stat. 1375 ............................................ 14

Investment Company Act of 1940, ch. 686, 54 Stat. 789 ........................ 11

Revenue Act of 1924, ch. 234, 43 Stat. 253 ............................................. 21

Securities Exchange Act of 1934, ch. 404, 48 Stat. 881 ............. 12, 14, 15,
                                                                     19, 20, 21




                                                      vii
USCA11 Case: 21-13755                Document: 35           Date Filed: 07/08/2022         Page: 11 of 50

                                   TABLE OF CITATIONS
                                       (continued)

                                                                                                  Page(s)

Regulations

17 C.F.R.
   § 230.144 ............................................................................................... 27
   § 230.144(d)(3)(ii) ................................................................................. 26
   § 240.15c3-3(a)(1) ................................................................................. 22
   § 240.15c3-3(b)(1) ................................................................................. 22

FINRA Rule 160(b)(4) ............................................................................... 22

FINRA Rule 5310 ..................................................................................... 22

Other Authorities

Certain Broker-Dealers Deemed Not To Be Investment
  Advisers, 70 Fed. Reg. 20,424 (Apr. 19, 2005) .................................... 13

Comments of the Small Public Company Coalition, SEC File
  No. S7-24-20 (Mar. 22, 2021), https://bit.ly/3nBGJGy ................. 26, 27

W.O. Douglas & G.E. Bates, Stock “Brokers” as Agents and
  Dealers, 43 Yale L.J. 46 (1933) ............................................................ 16

Duker & Duker,
  1939 WL 36426 (SEC Dec. 19, 1939)................................................... 13

Elray Res., Inc.,
   2016 WL 5571631 (SEC Sept. 30, 2016) ............................................. 27

Further Definition of ‘‘As a Part of a Regular Business’’ in the
  Definition of Dealer, 87 Fed. Reg. 23,054 (Apr. 18, 2022) .............. 5, 30

Gordon Wesley Sodorff, Jr.,
  1992 WL 224082 (SEC Sept. 2, 1992) ................................................. 25




                                                     viii
 USCA11 Case: 21-13755               Document: 35          Date Filed: 07/08/2022           Page: 12 of 50

                                   TABLE OF CITATIONS
                                       (continued)

                                                                                                   Page(s)

C.F. Hodge, Wall Street (1930) ............................................................. 9, 13

H.R. Doc. No. 76-279 (1939) ..................................................................... 11

H.R. Doc. No. 477 (1939) .......................................................................... 11

H.R. Rep. No. 73-85 (1933) ....................................................................... 32

H.R. Rep. No. 76-1775 (1940) ................................................................... 11

H.R. Rep. No. 76-2639 (1940) ................................................................... 11

Letter re Planning Research Corp., SEC No-Action Letter,
  1980 WL 14999 (Dec. 8, 1980) ............................................................. 27

1 L. Loss et al., Fundamentals of Securities Regulation (7th
   ed. 2021 Cum. Supp.) ........................................................................... 33

D. MacMillan, Spotify Raises $1 Billion in Debt Financing,
   Wall St. J. (Mar. 29, 2016), https://on.wsj.com/3y4FDYz................... 24

C.H. Meyer, Law of Stock Brokers and Stock Exchanges
  (1933) .................................................................................................. 8, 9

H.M. Peirce, Comm’r, SEC, Statement on the Regulatory
  Flexibility Agenda (June 22, 2022), https://bit.ly/3AeRzK6 ................ 5

Registration Under the Advisers Act of Certain Hedge Fund
  Advisers, 69 Fed. Reg. 72,054 (Dec. 10, 2004) .................................... 25

Revisions to Rule 144, 72 Fed. Reg. 71,546 (Dec. 17, 2007) .................... 27

Rule 144 Holding Period, 86 Fed. Reg. 5063 (Jan. 19, 2021) ........... 26, 27

A. Scalia & B. Garner, Reading Law (2012)...................................... 12, 13



                                                      ix
USCA11 Case: 21-13755             Document: 35        Date Filed: 07/08/2022        Page: 13 of 50

                                TABLE OF CITATIONS
                                    (continued)

                                                                                           Page(s)

SEC, Report on the Feasibility and Advisability of the
  Complete Segregation of the Functions of Dealer and
  Broker (1936) .......................................................................... 7, 8, 10, 13

W. Strunk, The Elements of Style (1920) ................................................. 19

P.-W. Tam & T. Ewing, Buying and Quickly Selling IPO
   Stock Is No Longer Bad, Wall St. J. (Feb. 2, 2000),
   https://on.wsj.com/3y1YbbP ................................................................. 24

Testimony of R.R. Lindsey, Director, Div. of Market
  Regulation, SEC, 1998 WL 781102 (Oct. 1, 1998) .............................. 25

Twentieth Century Fund, The Security Markets (1935) ................... 14, 15

Webster’s New International Dictionary (2d ed. 1934) ...................... 14, 29

J.W. White, Director, Div. of Corp. Fin., SEC (Feb. 23, 2007),
  https://bit.ly/3IbQch3 ........................................................................... 27




                                                  x
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 14 of 50



                   INTEREST OF AMICI CURIAE1

     The Securities and Exchange Commission claims to have discov-

ered in a long-extant statute an unheralded regulatory power: any com-

pany whose “business model” is based on the “purchase and sale of secu-

rities” is a “dealer” required to register with the Commission. Doc. 79, at

8.2 That is a radical, transformative expansion in the Commission’s au-

thority. Amici represent some of the world’s largest, most sophisticated

investors, who collectively (and, in many cases, individually) purchase

and sell billions of dollars of securities each year, but are not, and have

never been, securities “dealers.” Amici urge the Court to reject the Com-

mission’s overreach.

     Amici speak for a broad array of financial professionals. The Al-

ternative Investment Management Association Ltd. is the global

representative of the alternative investment industry.            AIMA’s fund

manager members collectively manage more than $2 trillion in hedge


1
   The parties consented to this filing. No party’s counsel authored this
brief in whole or part, and no one other than Amici or their members or
counsel contributed money for the brief’s preparation or submission.
 2
   Citations of “Doc. X, at Y” refer to district court docket X, page Y. Page
citations reference the CM/ECF page number at the top of the page.

                                     1
USCA11 Case: 21-13755    Document: 35   Date Filed: 07/08/2022   Page: 15 of 50



fund and private credit assets. The National Association of Private

Fund Managers represents the legal and economic interests of invest-

ment advisers to private funds—funds that serve a diverse set of inves-

tors, including pensions, endowments, and insurance companies. The

Small Public Company Coalition is the voice of small, publicly-traded

companies and the financial professionals who serve them.

                        STATEMENT OF ISSUE

      Whether the district court erred in holding that a “dealer” included

any company whose “business model” was based on the “purchase and

sale of securities.”

                         INTRODUCTION AND
                       SUMMARY OF ARGUMENT

      This case implicates a statutory question of enormous importance—

the meaning of “dealer” in the Securities Exchange Act of 1934. But that

question is not properly presented here. Rather than analyzing the text,

structure, and history of the statute—including the understanding of the

text at the time it was adopted—appellants ground their defense in SEC

guidance. In these circumstances, the Court should not decide the stat-

utory meaning of “dealer”—another case squarely raising that issue is



                                    2
USCA11 Case: 21-13755    Document: 35   Date Filed: 07/08/2022   Page: 16 of 50



about to be appealed. See SEC v. Keener, No. 20-cv-21254 (S.D. Fla.). If

the Court does reach the issue, however, it should apply the usual tools

of construction; the text’s true meaning, based in part on the original us-

age of the statutory terms, is beyond clear.

     This is (another) attempt by the Commission to effect an enormous

and transformative expansion in its regulatory authority through “a ma-

nipulation of meaning” of well-known industry terms. Goldstein v. SEC,

451 F.3d 873, 882 (D.C. Cir. 2006). For more than a century, the terms

“broker” and “dealer” have referred to the method in which a public secu-

rities business effectuates customer securities transactions. A “broker”

acts as an agent, and trades “for the account of” the customer, whereas a

“dealer” acts as a principal, and effectuates the customer’s trade by tak-

ing the opposite side in the dealer’s “own account.” 15 U.S.C. § 78c(a)(4),

(5). This is the universally recognized distinction between “brokers” and

“dealers,” and is how everyone (including the Commission) understood

the text of the Exchange Act at the time it was enacted.

     Today’s Commission ignores this original understanding and

claims to have discovered a new meaning. Writing off decades of its own

interpretations as neither “dispositive” nor “binding,” Doc. 79, at 10 n.3,

                                    3
USCA11 Case: 21-13755    Document: 35       Date Filed: 07/08/2022   Page: 17 of 50



12, and focusing on just a few isolated words, the Commission insists that

a dealer is any business that purchases and sells securities for its “own

account,” id. at 2. Literally. The Commission’s position, repeated over

and over again, in this and in other recent cases, is that any company

whose “business model” is based on the “purchase and sale of securities

… is a dealer,” id. at 8, regardless of whether the company “render[s] any

of the services that [have been] the hallmark of a dealer,” such as effec-

tuating customer orders. Id. at 9. “None of that,” the Commission as-

serts, “is relevant” to the analysis. Id.

      The Commission’s position is untenable. It is untethered to the

standard rules of construction, which seek to discern the ordinary mean-

ing of a statute—not the hyperliteral, agency-power-maximizing mean-

ing of a few isolated words. Amici represent a broad cross-section of busi-

nesses—from hedge funds to investment advisers—who collectively (and

in many cases, individually) purchase and sell billions of dollars of secu-

rities each year, but are not, and have never been understood to be, secu-

rities “dealers.”




                                      4
USCA11 Case: 21-13755     Document: 35   Date Filed: 07/08/2022   Page: 18 of 50



     The evident goal of the Commission’s new enforcement cases is to

establish a precedential hook for the “far-reaching changes” the Commis-

sion hopes to make to its “regulatory regime.” Commissioner Peirce,

Statement on the Regulatory Flexibility Agenda (June 22, 2022),

https://bit.ly/3AeRzK6. On the heels of the agency’s win below, the Com-

mission put forth in a proposed rulemaking a “further definition” of the

word “dealer” that purports to clarify that some of the world’s most so-

phisticated, high-profile investors, including many of Amici’s members,

have actually been “dealers” all along, presumably since the Exchange

Act’s enactment, without anyone having noticed—until now. Further

Definition of ‘‘As a Part of a Regular Business,” 87 Fed. Reg. 23,054,

23,089 (Apr. 18, 2022).

     The Commission’s claim to authority is extraordinary. “[E]ven if” a

firm “do[es] not … engage” in any of the activity that has ever been asso-

ciated with “dealers” or identified in any Commission interpretation, in-

cluding the pending “further definition,” the firm “may still be … a

dealer,” and thus subject to SEC registration. 87 Fed. Reg. at 23,062

n.87. “The only definitional requirement,” the Commission stresses, “is

that a dealer engages in the business of buying and selling securities.”

                                     5
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 19 of 50



SEC’s Opp’n 25, SEC v. Carebourn Cap., L.P., No. 21-cv-2114 (D. Minn.

Mar. 10, 2022), 2022 WL 1913692.

     The Court should reject this vast regulatory overreach. Congress,

in 1934, used well-known language that everyone at the time understood

referred to the method of effectuating customer orders. It did not bestow

upon the Commission an “unheralded power”—overlooked by everyone

for nearly 100 years—to require the registration of virtually every busi-

ness that participates in the securities markets. West Virginia v. EPA, --

S. Ct. --, 2022 WL 2347278, at *13 (2022).

                              ARGUMENT

I.   The Court Should Reject The Commission’s Ahistorical, Hy-
     perliteral, And Overbroad Interpretation Of The Exchange
     Act.

     If the Court does not await a case in which the proper textual anal-

ysis is preserved and briefed, it should reject the Commission’s overbroad

reading. The text, structure, and history of the Exchange Act make un-

mistakably clear that a “dealer,” like a “broker,” is in the business of “ef-

fect[ing] securities transactions for customers.” XY Planning Network,

LLC v. SEC, 963 F.3d 244, 248 (2d Cir. 2020). The Commission’s radical

new theory—that a “dealer” includes any business that buys and sells


                                     6
USCA11 Case: 21-13755    Document: 35       Date Filed: 07/08/2022   Page: 20 of 50



securities—has no basis in the “original meaning of the statute,” New

Prime Inc. v. Oliveira, 139 S. Ct. 532, 539 (2019), makes nonsense of the

overall regulatory regime, and would expand the Commission’s authority

in ways that are not only absurd, but also impossible to square with

nearly a century of settled practice.

     A.    The Exchange Act Uses Well-Known, Widely Used
           Terms That Refer To The Methods Of Effectuating Cus-
           tomer Orders.

     The Exchange Act’s words must “be read in their context,” Util. Air

Regulatory Grp. v. EPA (UARG), 573 U.S. 302, 320 (2014), and given

their ordinary meaning “at the time of the Act’s adoption,” New Prime,

139 S. Ct. at 539. These foundational principles resolve this case.

     1. When Congress enacted the Exchange Act, “broker” and “dealer”

had well-understood meanings in the financial context. The terms re-

ferred to the two alternative methods of effectuating customer securities

transactions, which is why Congress regulated “brokers” and “dealers”

together—to protect investor customers from the two business-types that

served them. A “broker” would buy and sell securities “for” the customer,

as an “agent,” whereas a “dealer” would buy and sell securities “from”

and “to” the customer, as a merchant, at arm’s length. SEC, Report on

                                        7
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 21 of 50



the Feasibility and Advisability of the Complete Segregation of the Func-

tions of Dealer and Broker, at XIV (1936) (“SEC Report 1936”).

     In ordinary parlance, this distinction between brokers and dealers

was expressed in terms of whose “account” facilitated the customer’s or-

der. A broker, acting as an agent, would be said to trade “for the account

of the customer.” SEC Report 1936, at XIV. As the standard trade con-

firmation of the day put it, “We have this day bought (or sold) for your

account and risk.” Weisbrod v. Lowitz, 282 Ill. App. 252, 255 (1935) (em-

phasis added). A dealer, in contrast, would be said to effectuate the cus-

tomer’s order by taking the opposite side in “his own account.” Id. When

a customer wanted to sell, for example, a dealer would effectuate the sale

by “buy[ing] from [the] customer … for [the dealer’s] own account.” C.H.

Meyer, Law of Stock Brokers and Stock Exchanges § 43-a, at 34 (1933).

     When Congress adopted the “other’s account” versus “own account”

distinction in the Exchange Act—defining “broker” as “the business” of

effecting transactions “for the account of others,” 15 U.S.C. § 78c(a)(4)(A),

and “dealer” as “the business” of “buying and selling” for one’s “own ac-

count,” id. § 78c(a)(5)(A)—Congress adopted the established, idiomatic

meaning of these phrases: when juxtaposed against one another, trading

                                     8
USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 22 of 50



for the “account of others” and one’s “own account” referred to the account

used to facilitate customer orders.

     The evidence of this contemporaneous, widely-understood meaning

is overwhelming. Prominent treatises of the time are replete with refer-

ences to the “account of others” and “own account” that could only be read

as distinguishing the method by which brokers and dealers effectuate

customer orders. Charles Hodge’s Wall Street (1930) treatise differenti-

ates brokers and dealers as follows: “A dealer sells to and buys from a

client whereas a broker buys and sells for the account of a client.” Id. at

361. Meyer’s Law of Stockbrokers (1933), supra, treatise similarly ex-

plains that a “broker” is the “agent” of “his customer”; he trades for the

“account and risk” of the customer. Id. at 32, 34 (emphasis added). What

“distinguishe[s]” the “dealer … from a broker” is that the dealer “sells to

his customers … securities which he has purchased for his own account

elsewhere,” or “buys from his customer securities for his own account

with a view to disposing them elsewhere.” Id. at 32-33 (emphases added).

In each instance, “account” distinguishes the way in which the broker or

dealer effectuates customer orders.




                                      9
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 23 of 50



     The Commission itself spoke this way. In a report by James Landis,

the SEC’s founding father, and then-Commissioner (future-Justice) Wil-

liam O. Douglas, the Commission explained that the “characteristic ac-

tivities of a dealer” are that he “sells securities to his customer which he

has purchased … elsewhere or buys securities from his customer with a

view of disposing of them elsewhere.” SEC Report 1936, at XIV. “In any

such transaction,” the dealer “acts for his own account and not as agent

for the customer.” Id. (emphasis added). A “broker,” “[o]n the other

hand,” “is the agent of his customer”; in the Commission’s words, the bro-

ker’s transaction “is solely for the account of the customer.” Id. (emphasis

added).

     2. Powerful confirmation of the text’s original meaning comes from

the investment-company and investment-adviser worlds. In 1934, as to-

day, these firms had (in the words of today’s Commission) a “business

model” that was based on the “purchase and sale of securities.” Doc. 79,

at 8. That’s what they did. E.g., Inv. Tr. of Mut. Inv. Co. v. Comm’r, 27

B.T.A. 1322, 1322 (1933) (“it makes purchases and sales of securities”).

Yet, tellingly, it did not occur to anybody that these firms might be “deal-




                                    10
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 24 of 50



ers.” E.g., H.R. Rep. No. 76-2639, at 10 (1940) (“great majority of invest-

ment companies have never come within the purview of” the Act). Con-

temporaneous Commission reports recognized that investment compa-

nies were not governed by rules that applied to “‘brokers and dealers’

only,” H.R. Doc. No. 76-279, at 1523 n.434 (1939), and that “[f]ederal reg-

ulation” of investment advisers did “not exist” under the Exchange Act,

H.R. Doc. No. 477, at 31 (1939). These statements would have “be[en]

incorrect” had dealer meant what today’s Commission claims. Murphy v.

NCAA, 138 S. Ct. 1461, 1484 (2018).

     Congress’s understanding is equally informative. Just six years af-

ter enacting the Exchange Act, Congress passed the Investment Com-

pany Act and the Investment Advisers Act, because these firms were not

subject to the Exchange Act. See H.R. Rep. No. 76-2639, at 10; H.R. Rep.

No. 76-1775, at 21 (1940). Section 1 of the Investment Company Act it-

self, for example, recognized that “investment companies” were distinct

from “brokers” and “dealers,” see ch. 686, § 1(b)(2), 54 Stat. 789, 790, and

raised concerns regarding fair-dealing, recordkeeping, and other matters,

see id. § 1(b)(3)-(5), 54 Stat. at 790, that the Exchange Act would already

have addressed had investment companies been “brokers” or “dealers,”

                                    11
USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 25 of 50



see Securities Exchange Act of 1934, ch. 404, §§ 17(a) (recordkeeping),

18(a) (misleading statements), 48 Stat. 881, 897-98; Act of June 25, 1938,

ch. 677, sec. 1, § 15A(b)(7), 52 Stat. 1070, 1071 (fair-and-equitable prin-

ciples of trade). Congress’s nearly-contemporaneous understanding of

the Exchange Act’s language disproves the Commission’s newly-discov-

ered meaning.

     3. The Commission confuses the ordinary meaning of the text “(the

textualist’s touchstone)” with the “hyperliteral meaning” of a few isolated

words. A. Scalia & B. Garner, Reading Law 356 (2012).

     “[O]rdinary meaning” is not “literal” meaning. Niz-Chavez v. Gar-

land, 141 S. Ct. 1474, 1484 (2021). A law that punishes whoever “draws

blood in the streets” would literally condemn a surgeon who opens the

vein of a person who has fallen in the street due to illness. Scalia & Gar-

ner, supra, at 357. But no sensible person would interpret the statute

that way because the phrase “drawing blood in the streets,” in its ordi-

nary, “conventional meaning,” refers to a violent attack that pierces the

skin, not a medical procedure. Id.

     The Commission would hang the surgeon. While it insists that buy-

ing and selling for one’s “own account” means hyperliterally buying and

                                     12
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 26 of 50



selling for one’s self, the Commission has no response to the fact that in

1934, the common method of distinguishing brokers and dealers was

identifying which “account” facilitated customer trades. Only by taking

an “overly literal reading” of a few isolated words, “without any regard

for [their] context or history,” can the Commission press its case. Andrus

v. Charlestone Stone Prods. Co., 436 U.S. 604, 616 (1978).

     B.    The Context Reinforces The Customer-Order-Facilita-
           tion Interpretation.

     1.   In 1934, everyone understood that “brokers” and “dealers”

served investors by “executing trades as part of an overall package of ser-

vices provided to customers.” Certain Broker-Dealers Deemed Not To Be

Investment Advisers, 70 Fed. Reg. 20,424 20,428 n.38 (Apr. 19, 2005).

The “intimate relationship between customers and brokers and dealers”

was recognized by virtually everyone. Duker & Duker, 1939 WL 36426,

at *3 n.6 (SEC Dec. 19, 1939); see SEC Report 1936, at XIV (“dealer sells

securities to his customer”); Hodge, supra, at 361 (“dealer sells to and

buys from a client”). This focus on facilitating customer orders is “im-

portant” context in construing the statutory definitions, Scalia & Garner,

supra, at 228, because Congress presumptively defines terms to match



                                    13
USCA11 Case: 21-13755       Document: 35    Date Filed: 07/08/2022   Page: 27 of 50



their ordinary meaning, United States v. Jones, 962 F.3d 1290, 1298 (11th

Cir. 2020).

      2. The statutory phrase “the business of buying and selling securi-

ties” reinforces the customer-centered reading. 15 U.S.C. § 78c(a)(5)(A).

The definite article “the” (“the business”) demonstrates that Congress

had a specific “business” in mind, id., “when it enacted the statute,” Skil-

ling v. United States, 561 U.S. 358, 404 (2010) (construing “the”); see Web-

ster’s New International Dictionary 2617 (2d ed. 1934) (“the” “[l]imit[s] to

a concrete application”).

      The conjunctive phrase “buying and selling” reveals what that busi-

ness was. The Exchange Act originally required registration only in the

over-the-counter markets. See § 15, 48 Stat. at 895; Act of May 27, 1936,

ch. 464, sec. 3, § 15(a), 49 Stat. 1375, 1377. There, dealers “ordinarily”

had one way to execute customer orders—say a “buy” order. Twentieth

Century Fund, The Security Markets 266 (1935). The dealer would buy

the stock for its “own account” (usually from another dealer), then, from

its “own account,” sell to the customer. Id. The dealer would thus trade

“twice”; to facilitate one order, it would “both buy[] and sell[] for [its] own




                                       14
USCA11 Case: 21-13755   Document: 35    Date Filed: 07/08/2022   Page: 28 of 50



account.” Id. That is “the” business of “buying and selling” Congress

addressed.

     Had Congress intended to reach any business that bought and sold,

Congress could “have chosen clearer language.” NLRB v. SW Gen., Inc.,

137 S. Ct. 929, 939 (2017). An obvious possibility would have been to

replace “any person engaged in the business of buying and selling securi-

ties” with any person who “transacts a business in securities.” That for-

mulation appears throughout the original Act, §§ 8, 11(d), 14(b), 17(a),

30(b), 48 Stat. at 888-904, and, by relying on the indefinite article “a,”

invites the broader construction the Commission prefers, see Comm’r v.

Kelley, 293 F.2d 904, 911-12 (5th Cir. 1961) (contrasting definite and in-

definite articles). “The fact that [Congress] did not adopt this readily

available and apparent alternative” “strongly” suggests that Congress

had the more specific, customer-order-facilitation meaning in mind.

Knight v. Comm’r, 552 U.S. 181, 188 (2008).

     3. The legal-backdrop supports this reading.

     Take the common law. “[W]here Congress uses terms that have

accumulated settled meaning” under the common law, courts typically

infer “that Congress means to incorporate the established meaning of

                                   15
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 29 of 50



these terms.” Neder v. United States, 527 U.S. 1, 21 (1999). Even where

a statute “abrogates the common law in certain respects,” courts “pre-

sume that Congress retained all other elements of [the common law] that

are consistent with the statutory text.” Universal Health Servs., Inc. v.

United States, 579 U.S. 176, 187 n.2 (2016); see Neder, 527 U.S. at 23-25.

     That rule resolves this case. At common law, the concepts of “bro-

ker” and “dealer” presupposed the facilitation of customer orders. See

W.O. Douglas & G.E. Bates, Stock “Brokers” as Agents and Dealers, 43

Yale L.J. 46, 60-61 (1933) (“distinguish[ing]” brokers and dealers by look-

ing to the “confirmation” sent the “customer,” whether “the customer is

… charged any commission,” and how stock is “transfer[ed] … to the cus-

tomer”). Given this backdrop, it is inconceivable that Congress used

those terms to refer to anything else.

     Other bodies of law point the same way. The Exchange Act clarifies

that “dealer” does not include any person who buys or sells “but not as a

part of a regular business.” 15 U.S.C. § 78c(a)(5)(B). That exclusionary

phrase is not unique to the Act; Congress plucked it, nearly verbatim,

from Internal Revenue regulations. See Donander Co. v. Comm’r, 29

B.T.A. 312, 313 (1933). In doing so, Congress “adopt[ed] the cluster of

                                    16
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 30 of 50



ideas” that were attached to the “body of learning from which [the phrase]

[was] taken.” Air Wis. Airlines Corp. v. Hoeper, 571 U.S. 237, 248 (2014).

     That body of learning unquestionably excluded from dealer status

firms that did not buy and sell to facilitate customer orders. As one court

put it in 1933, “regardless of the number of purchases and sales,” the

term “dealer” “ha[d] application [only] to a merchant who h[eld] himself

out to sell to customers.” Donander, 29 B.T.A. at 314-15. Accordingly, a

firm that traded “for sale to customers” was a “dealer.” Vaughan v.

Comm’r, 85 F.2d 497, 499 (2d Cir. 1936); see Harriman Nat’l Bank v.

Comm’r, 43 F.2d 950, 952 (2d Cir. 1930) (dealer “purchased securities to

fill specific orders” and “h[eld] them for customers”). But a firm that

traded for its own “speculation,” without customers, was not. Vaughan,

85 F.2d at 499. If Congress intended to extend “dealer” beyond the cus-

tomer-order-facilitation context, it wouldn’t have borrowed language

from this body of law.




                                    17
USCA11 Case: 21-13755   Document: 35    Date Filed: 07/08/2022   Page: 31 of 50



     C.    The Statute’s Structure Spells More Trouble For The
           Commission’s Reading.

     A “wider look at the statute’s structure” further undermines the

Commission’s position. Romag Fasteners, Inc. v. Fossil, Inc., 140 S. Ct.

1492, 1495 (2020).

     1. Consider the “interplay between” broker and dealer. Van Buren

v. United States, 141 S. Ct. 1648, 1658 (2021). All agree that the defini-

tion of “broker”—effecting transactions for the “account of others,” 15

U.S.C. § 78c(a)(4)(A)—refers only to trading “on behalf of … customers.”

SEC’s Opp’n 18, Carebourn, 2022 WL 1913692. All also agree that the

definition of “dealer”—buying and selling for one’s “own account,” 15

U.S.C. § 78c(a)(5)(A)—includes transactions that facilitate customer or-

ders. SEC Opp’n 24, Carebourn, 2022 WL 1913692.

     The Court should stop there. Reading both definitions as referring

to methods of effectuating customer orders “makes sense of the statutory

structure” by “treat[ing]” both definitions “consistently.” Van Buren, 141

S. Ct. at 1658.

     The Commission’s contrary approach “creates ‘inconsistencies.’”

Van Buren, 141 S. Ct. at 1659 (cleaned up). Under the Commission’s



                                   18
USCA11 Case: 21-13755       Document: 35     Date Filed: 07/08/2022   Page: 32 of 50



reading, the first definition (“broker”) refers to one method of effectuating

customer orders, and the second definition (“dealer”) refers to the other

method of effectuating customer orders and also any other type of trading.

This reading fails to place both definitions “into an harmonious whole.”

Roberts v. Sea-Land Servs., Inc., 566 U.S. 93, 100 (2012).

      Underscoring the Commission’s error is the noscitur a sociis

canon—the commonsense principle that words are known by the com-

pany they keep. Garcia v. Vanguard Car Rental USA, Inc., 540 F.3d

1242, 1247 (11th Cir. 2008). In multiple instances, the original Exchange

Act “links the words” broker and dealer. Scalia & Garner, supra, at 198.

It places both definitions in back-to-back sentences. 48 Stat. at 883. It

defines both words in parallel terms, implying a related meaning. See W.

Strunk, The Elements of Style 26 (1920). And on numerous occasions, it

joins the terms as “broker or dealer” (or something similar). §§ 3(a)(3), 5,

7(c), 7(c)(2), 7(d), 8, 8(a), 9(a)(3), 9(a)(4), 9(a)(5), 11(d), 11(e), 12(a), 14(b),

15, 17(a), 17(b), 30(a), 48 Stat. at 883-904.

      The noscitur canon teaches that where words are linked like this,

the words are read in light of their “common ‘core of meaning.’” Freeman

v. Quicken Loans, Inc., 566 U.S. 624, 635 (2012). That meaning is clear:

                                        19
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 33 of 50



“both terms refer to different forms of generally similar conduct,” Bullock

v. BankChampaign, N.A., 569 U.S. 267, 274 (2013)—different methods of

effectuating customer orders.

     2. Congress’s use of “broker,” “dealer,” and “own account” in other

parts of the Act confirms this meaning.

     When Congress uses the same words in different parts of a statute,

the words “bear the same meaning throughout.” In re Appling, 848 F.3d

953, 958 (11th Cir. 2017). Consider Section 11, which presupposes a busi-

ness that combines “the functions of dealer and broker” to facilitate cus-

tomer orders. 48 Stat. at 892. Section 11 provides that a combined bro-

ker-dealer must “disclose[] to [his] customer in writing at or before the

completion of the transaction whether he is acting as a dealer for his own

account, as a broker for [the] customer, or as a broker for some other per-

son.” Id. These references to “broker,” “dealer” and “own account” can

only be referring to the manner of effectuating customer orders. Id. If

that’s what those terms mean in Section 11, they have the same meaning

elsewhere. See Gustafson v. Alloyd Co., 513 U.S. 561, 570 (1995).

     3. The Commission’s contrary position creates other structural

problems: it “render[s] meaningless” the word account. Liu v. SEC, 140

                                    20
USCA11 Case: 21-13755       Document: 35    Date Filed: 07/08/2022   Page: 34 of 50



S. Ct. 1936, 1948 (2020). A “broker” effects transactions “for the account

of others”; a “dealer” “for his own account.” 48 Stat. at 883. Under the

Commission’s theory, Congress could’ve said “for others” and “for him-

self.” Cf. Revenue Act of 1924, ch. 234, § 701(1), 43 Stat. 253, 326; Act of

Apr. 5, 1938, ch. 72, § 863, 52 Stat. 198, 198. Only the customer-order-

facilitation interpretation gives effect to “account”; the word calls to mind

the widely-understood meaning of “account of others” and “own account,”

detailed above (at 8-10).

     4. The Commission’s structural problems continue: the agency’s

position has no “relationship to the other protections that the Act af-

fords.” Jones v. Harris Assocs. L.P., 559 U.S. 335, 348 (2010).

      The broker-dealer regulatory regime is premised on the protection

of customer orders and accounts. The Commission cannot explain why

Congress would have forced individuals such as Mr. Almagarby to

(among other pointless tasks) send “notice[s] to [their] customers” (which

they do not have), 15 U.S.C. § 78o(e); meet “financial responsibility re-

quirements” to keep “custody … of customers’ securities” (which they do

not hold), id. § 78o(c)(3)(A); and join a fund to insure “each of [their] cus-

tomers” accounts (which do not exist), id. § 78fff-4(c).

                                       21
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 35 of 50



     The Commission’s theory absurdly results in less regulatory protec-

tions. Consider Rule 15c3-3, which requires broker-dealers to maintain

“physical possession or control” of customer securities.            17 C.F.R.

§ 240.15c3-3(b)(1). Or take FINRA Rule 5310, which mandates “reason-

able diligence” in “ascertain[ing] the best market” for customer orders.

Neither rule applies to individuals like Mr. Almagarby, because they

don’t effectuate customer orders. Individuals like Mr. Almagarby do,

however, place their own orders, for their own trading. But because they

are not actually “dealers,” and do not have direct market access, they rely

on real broker-dealers to effectuate their orders. Doc. 73-1, at 4 ¶¶ 14-

15. There’s the rub: if they’re “dealers” themselves, the customer-pro-

tection rules don’t protect them. See 17 C.F.R. § 240.15c3-3(a)(1); FINRA

Rule 160(b)(4). Their brokers can lose their securities and trade at un-

reasonable prices. Congress did not have such a nonsensical scheme in

mind.




                                    22
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022     Page: 36 of 50



     D.    The Scope And History Of The Commission’s Claimed
           Authority Counsel Against It.

     1. The “sheer scope of the [Commission’s] claimed authority” “coun-

sel[s] against the [Commission’s] interpretation.” Ala. Ass’n of Realtors

v. Dep’t of Health & Human Servs., 141 S. Ct. 2485, 2489 (2021).

     The Commission’s theory is absurd. If having a “business model”

that is based on the “purchase and sale of securities” is “conclusive proof”

that a company is a “dealer,” Doc. 79, at 8, it could have enormous impli-

cations for the registration status of other market participants, including

hedge funds, investment companies, investment advisers, family offices,

venture capital funds, private equity funds, and the like. The law does

not lightly presume “entire industr[ies]” negligent.              Christopher v.

SmithKline Beecham Corp., 567 U.S. 142, 158 (2012).

     The Commission has no credible answer. Below, the Commission

asserted random facts about Mr. Almagarby, claiming he was unlike

“‘‘hedge funds’ and ‘family offices’” because he “repeatedly acquired large

amounts of newly-issued shares directly from the issuer rather than

through the secondary market and introduced and dispersed those

shares to the investing public.” Doc. 88, at 8. That is non-responsive.



                                    23
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 37 of 50



Myriad (non-dealer) businesses acquire and sell newly-issued shares—

say in convertible-debt arrangements,3 IPOs,4 and exchanges.5

     More importantly, the Commission “does not identify any textual

basis” for the newly-issued, non-newly-issued distinction. Van Buren,

141 S. Ct. at 1655. Nor could it: the Commission’s theory has nothing to

do with share vintage. See Doc. 88, at 3 (“[B]ecause Defendants clearly

engaged in purchasing and selling securities … none of the factors cited

by Defendants need be established.”).         All the Commission asks is

whether a firm bought and sold as part of a “regular business.” See id.

(emphasizing that “‘regular business’” does not “mean[] something other

than a regular business”). The Commission cannot explain why its read-

ing of the statute could not apply to every financial firm in the country.

     2. The novelty of the Commission’s claimed authority provides

more reason for pause. For decades, the Commission has maintained



3
  Spotify Raises $1 Billion in Debt Financing, Wall St. J. (Mar. 29,
2016), https://on.wsj.com/3y4FDYz.
4
   Buying and Quickly Selling IPO Stock Is No Longer Bad, Wall St. J.
(Feb. 2, 2000), https://on.wsj.com/3y1YbbP.
5
  Chapel Invs. v. Cherubim Interests, 177 F. Supp. 3d 981, 986-88 (N.D.
Tex. 2016).

                                    24
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 38 of 50



that a “dealer” is a “public securities business” that provides “services to

investors.” Testimony of Director Lindsey, Div. of Market Regulation,

1998 WL 781102, at *2 n.2 (Oct. 1, 1998). It “solicit[s] investors and han-

dle[s] their money and securities.” Gordon Wesley Sodorff, Jr., 1992 WL

224082, at *5 (SEC Sept. 2, 1992).        The Commission’s claimed “dis-

cover[y]” of an expansive new meaning merits “skepticism.” UARG, 573

U.S. at 324.

     The Commission’s near-century-long silence—the total “want of as-

sertion of power” in circumstances where the agency would “presumably”

have been “alert to exercise it”—is almost dispositive proof that the

newly-asserted power does not exist. West Virginia, 2022 WL 2347278,

at *13. The treatment of investment companies and advisers, discussed

above (at 10-12), is one example; the 2004 Hedge Fund Rule is another.

At that time, the Commission searched (unsuccessfully) for a “hook on

which to hang” the registration of hedge funds. Goldstein, 451 F.3d at

882. If the Commission really had the power to require dealer-registra-

tion of any company whose business model was based on the “purchase

and sale of securities,” Doc. 79, at 8, it is remarkable that no one sug-

gested that hedge funds might themselves be dealers. Cf. Registration

                                    25
USCA11 Case: 21-13755   Document: 35    Date Filed: 07/08/2022   Page: 39 of 50



Under the Advisers Act, 69 Fed. Reg. 72,054, 72,091 n.17 (Dec. 10, 2004)

(focusing instead on broker-dealers that service hedge funds).

     The Commission’s treatment of convertible securities is similarly

revealing.   According to the Commission, Mr. Almagarby acted as a

dealer by acquiring convertible debt, converting that debt into discounted

stock (pursuant to SEC Rule 144, Doc. 73, at 30), and selling that stock

into the market. Doc. 73, at 29. The Commission in other pending cases

states this is “sufficient” proof of being a dealer. SEC’s Opp’n 16, Care-

bourn, 2022 WL 1913692. The Commission cannot reconcile that theory

with the regulatory history.

     Rule 144(d)(3)(ii) allows companies holding convertible debt to do

exactly what Mr. Almagarby did: “after the Rule 144 holding period is

satisfied,” holders can “convert [their securities] into … common stock[]

at a … discount to the market price” and “quickly” resell “into the public

market.” Rule 144 Holding Period, 86 Fed. Reg. 5063, 5066 (Jan. 19,

2021). There is a thriving convertible-securities industry that relies on

this rule, and none of the investors have been thought of as “dealers” be-

fore. See generally Comments of the Small Public Company Coalition,




                                   26
USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 40 of 50



SEC File No. S7-24-20 (Mar. 22, 2021), https://bit.ly/3nBGJGy (“SPCC

Comments”).

     The Commission has known about this for decades. The Commis-

sion approved the conversion-resale process (with a non-dealer) in 1980,

see Letter re Planning Research Corp., SEC No-Action Letter, 1980 WL

14999, at *2 (Dec. 8, 1980); codified that position in 2007, see Revisions to

Rule 144, 72 Fed. Reg. 71,546, 71,555 & n.143 (Dec. 17, 2007); and is

currently studying amendments, see 86 Fed. Reg. at 5066—all under a

rule that dealers can’t use, see 17 C.F.R. § 230.144 prelim. note (“other

than” dealers). In the meantime, thousands of convertible-securities

transactions—all with non-dealers—have been disclosed in corporate fil-

ings filed with the Commission. See SPCC Comments 14-15. The Com-

mission undertook a special “screening process” for those filings in 2007,

Director White, Div. of Corp. Fin. (Feb. 23, 2007), https://bit.ly/3IbQch3,

and cracked down on late-filing issuers in 2016, see Elray Res., Inc., 2016

WL 5571631, at *2 (Sept. 30, 2016)—never suggesting that the firms

holding and converting the securities were all supposedly “dealers.”

Count Amici skeptical.




                                     27
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 41 of 50



     E.    The Commission’s Reading Makes A Mess Of Other
           Statutory Limitations.

     The Commission’s theory is inconsistent with the meaning of the

conjunctive phrase—“buying and selling securities”—in other ways.

     1. By the early twentieth century, the states had developed a ro-

bust body of law regulating different types of “dealers.” Textually, courts

held that when legislatures “coupl[ed] the two acts of buying and selling,”

they intended to “render the law more explicit,” such that a “dealer”

would include only businesses that “buy and sell the same article and in

the same condition.” State v. Yearby, 82 N.C. 561, 562 (1880). Thus, for

example, a shrimp canner was not a dealer in shrimp. State v. San Patri-

cio Canning Co., 17 S.W.2d 160, 162 (Tex. Civ. App. 1929). He bought

(raw) shrimp and sold (canned) shrimp, but did not “buy[] and sell[]

shrimp” in the statutory sense, because the shrimp were not in the same

“form and condition.” Id.

     The Commission’s theory is incompatible with this meaning. When

Congress adopted the phrase “buying and selling,” it brought the estab-

lished meaning with it. Stokeling v. United States, 139 S. Ct. 544, 551




                                    28
USCA11 Case: 21-13755     Document: 35    Date Filed: 07/08/2022   Page: 42 of 50



(2019). Mr. Almagarby’s activity does not fall within that meaning be-

cause he does not buy and sell the same securities in the same form. Just

as the shrimp canner bought raw shrimp and “converted [that shrimp]

into” canned shrimp, San Patricio, 17 S.W.2d at 162, Mr. Almagarby “ob-

tain[s] convertible debentures” and “convert[s] the debentures into

shares,” before “sell[ing],” Doc. 73-1, at 3-4. He doesn’t “buy[] and sell[]”

in the statutory sense.

     2. The Commission’s theory has another problem: Mr. Almagarby’s

buys and sells lack a temporal connection. The conjunctive “and” implies

a linkage in “time.” Webster’s, supra, at 98; see Lake Bldg. Prods., Inc. v.

Sec’y of Labor, 958 F.3d 501, 505 (6th Cir. 2020) (“and” implies “certain

temporal proximity”). But Mr. Almagarby’s purchases and sales were

separated by up to a six-month gap, Doc. 73-2, at 24:4-13—more proof the

agency’s conception of “dealer” is wrong.




                                     29
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 43 of 50



     F.    Two Time-Honored Canons Of Judicial Restraint
           Foreclose The Commission’s Theory.

     1.   The Commission’s theory fails on constitutional-avoidance

grounds, see Clark v. Martinez, 543 U.S. 371, 381-82 (2005); it’s “so stand-

ardless,” and invites so much “arbitrary enforcement,” that vagueness

concerns arise, Johnson v. United States, 576 U.S. 591, 595 (2015).

     If a dealer is any company whose “business model” is based on the

“purchase and sale of securities,” Doc. 79, at 8, the only thing standing

between nearly every financial firm and an enforcement action is the “be-

nevolence” of government lawyers, Wollschlaeger v. Governor, 848 F.3d

1293, 1322 (11th Cir. 2017). The Commission basically admits it cannot

articulate what a “dealer” is. In the pending “dealer” rulemaking, the

Commission lists several specific activities that may be indicative of a

“dealer” (none of which have any connection to the statutory text), and

then throws up its hands: “a person not meeting the standards in the

Proposed Rules may still be a dealer …. Whether or not a person is a

‘dealer’ is based on the facts and circumstances, where various factors are

‘neither exclusive, nor function as a checklist.’” 87 Fed. Reg. at 23,059

n.51. “I know it when I see it” is not a real standard.



                                    30
USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 44 of 50



      2. The rule of lenity also forecloses the Commission’s interpreta-

tion. When the Court is faced with a statute—like this one, see 15 U.S.C.

§§ 78o(a)(1), 78ff(a)—“that has both criminal and noncriminal applica-

tions,” “the rule of lenity” applies, even in civil cases. Romero v. Sec'y of

Homeland Sec., 20 F.4th 1374, 1383 (11th Cir. 2021).

      The rule mandates that when choosing “between two readings of” a

criminal statute, the Court should choose the reading that “criminalizes

a narrower range of conduct.” Romero, 20 F.4th at 1383-84. That prin-

ciple applies here. Because the “traditional tools of statutory construc-

tion” fail to “clear[ly] and definit[ively]” sustain the Commission’s expan-

sive interpretation, the Court must choose the reading that subjects

fewer market participants to potential prosecution.           Yates v. United

States, 574 U.S. 528, 547-48 (2015).

II.   If Anything, SEC v. Big Apple Independently Bars The
      Commission’s Attempted Overreach.

      The Commission also relied on SEC v. Big Apple Consulting USA,

Inc., 783 F.3d 786 (11th Cir. 2015), but that disproves the Commission’s

theory.




                                     31
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022    Page: 45 of 50



     The Commission claims that Big Apple adopted the agency’s con-

ception of “dealer”—any company whose “business model” is based on the

“purchase and sale of securities.” Doc. 79, at 8. The problem is Big Apple

“interpret[ed] a different statute”—the Securities Act—and does not

“magically” dictate the meaning of “different language in the different

statute”—the Exchange Act—before the Court today.                 Cuozzo Speed

Techs., LLC v. Lee, 579 U.S. 261, 277 (2016).

     A. As applied to the Securities Act, the Commission’s reading of

Big Apple disproves the agency’s interpretation of the Exchange Act.

     In the Securities Act, Congress collapsed a number of business

types into the definition of “dealer,” as a matter of administrative con-

venience, for the “sole” purpose of subjecting them to the “same” regula-

tions. H.R. Rep. No. 73-85, at 14 (1933). Thus, Congress defined “dealer”

as any company, not only engaged in “dealing,” but also acting as a “bro-

ker” or “otherwise” involved in “trading,” even for “part of [its] time.” 15

U.S.C. § 77b(a)(12). As is obvious from the text, and as was widely un-

derstood at the time, the Securities Act’s definition extends beyond

“merely the ordinary dealer.” H.R. Rep. No. 73-85, at 14.




                                    32
USCA11 Case: 21-13755    Document: 35    Date Filed: 07/08/2022   Page: 46 of 50



     When Congress enacted the Exchange Act, one year later, it cor-

rected this “overeconomy of language” and returned the “dealer” defini-

tion to its ordinary meaning in “the English language.” 1 L. Loss et al.,

Fundamentals of Securities Regulation § 3.A.4 (7th ed. 2021 Cum. Supp.).

Congress struck “broker” and “trading,” swapped the disjunctive for the

conjunctive, added “own account,” and made other material changes,

plainly narrowing the definition’s reach:

     The term “dealer” means any person who engagesd either for
     all or part of his time, directly or indirectly, as agent, broker,
     or principal, in the business of offering, buying, and selling, or
     otherwise dealing or trading in … securities issued by an-
     other person for such person’s own account ….

Compare 15 U.S.C. § 77b(a)(12), with id. § 78c(a)(5)(A).

     Congress’s actions cannot be squared with the Commission’s posi-

tion. “Where the words of a later statute differ from those of a previous

one on the same or related subject, the Congress must have intended

them to have a different meaning.” DIRECTV, Inc. v. Brown, 371 F.3d

814, 817 (11th Cir. 2004). Accordingly, if the text of the Securities Act

means that a “dealer” is any “business model” based on the “purchase and

sale of securities,” Doc. 79, at 8, the narrower text of the Exchange Act

must have a narrower meaning.


                                    33
USCA11 Case: 21-13755    Document: 35     Date Filed: 07/08/2022   Page: 47 of 50



     B. The Commission retreats to a Big-Apple footnote, which stated

that the “dealer” definitions under the Securities Act and Exchange Act

were “very similar.” 783 F.3d at 809 n.11. But the panel’s (citation-free)

assertion is wrong, has been superseded by Supreme Court authority,

and is dicta. The panel’s textual analysis of the Securities Act consisted

in its entirety of looking up a single word (“business”) in a copy of Black’s

Law Dictionary published seventy years after the statute’s adoption.

New Prime rejected that exact interpretive approach. 139 S. Ct. at 539.

The panel, moreover, “had no occasion” to interpret the Exchange Act,

Trump v. Thompson, 142 S. Ct. 680, 680 (2022), because appellants failed

to raise Exchange-Act arguments, thus “abandon[ing]” them, 783 F.3d at

806. The panel’s footnoted commentary on an unbriefed, abandoned is-

sue is not binding, and cannot save the Commission’s case. Wilbur v.

Corr. Servs. Corp., 393 F.3d 1192, 1204 n.7 (11th Cir. 2004); FTC v. Univ.

Health, Inc., 938 F.2d 1206, 1216 n.20 (11th Cir. 1991).

                             CONCLUSION

     The decision below should be reversed.




                                     34
USCA11 Case: 21-13755   Document: 35     Date Filed: 07/08/2022   Page: 48 of 50



                                   Respectfully submitted,

Dated: July 8, 2022                    /s/ Helgi C. Walker

BARRY GOLDSMITH                        HELGI C. WALKER
M. JONATHAN SEIBALD                    BRIAN A. RICHMAN
GIBSON, DUNN & CRUTCHER LLP            GIBSON, DUNN & CRUTCHER LLP
200 Park Avenue                        1050 Connecticut Avenue, N.W.
New York, N.Y. 10166-0193              Washington, D.C. 20036-5306
(212) 351-4000                         (202) 955-8500

                        Counsel for Amici Curiae




                                   35
USCA11 Case: 21-13755   Document: 35    Date Filed: 07/08/2022   Page: 49 of 50



                CERTIFICATE OF COMPLIANCE

1.   Type Volume

 X         This document complies with the type-volume limit of Federal
     Rules of Appellate Procedure 29(a)(5) and 32(a)(7)(B) because, ex-
     cluding parts of the document exempted by Federal Rules of Appel-
     late Procedure 32(f), this document contains 6,500 words.


2.   Type face and Type-Style

 X         This document complies with the typeface requirements of
     Federal Rule of Appellate Procedure 32(a)(5) and the type-style re-
     quirements of Federal Rule of Appellate Procedure 32(a)(6) because
     this document has been prepared using Microsoft Word 2019 in 14-
     point New Century Schoolbook font.



Dated: July 8, 2022                /s/ Helgi C. Walker

                                   Helgi C. Walker
                                   Counsel for Amici Curiae




                                   36
USCA11 Case: 21-13755   Document: 35     Date Filed: 07/08/2022   Page: 50 of 50



                      CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of July, 2022, a true and correct

copy of the foregoing was filed electronically and served on all counsel

through this Court’s CM/ECF system.


Dated: July 8, 2022                 /s/ Helgi C. Walker

                                    Helgi C. Walker
                                    Counsel for Amicus Curiae




                                    37
